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                         UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF WEST VIRGINIA
                                  (MARTINSBURG)
IN RE:                                               CASE NO. 17-00239
   ELISA M. MCGEE FKA ELISA M. PEREZ                 CHAPTER 13
                                                     JUDGE PATRICK M. FLATLEY
                                         Debtor.

        MOTION OF U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF10 MASTER
         PARTICIPATION TRUST FOR RELIEF FROM THE AUTOMATIC STAY

       1.      U.S. Bank Trust, N.A., as Trustee for LSF10 Master Participation Trust (the
“Creditor”) moves for relief from the automatic stay imposed by the Bankruptcy Code pursuant to
11 U.S.C. 362 and Federal Rules of Bankruptcy Procedure 4001 and 9014, and in support of this
motion states:

       2.     The Creditor is a holder of a promissory note (the "Note") signed by the Debtor, A
copy of the Note is attached hereto as Exhibit A.

       3.      As security for the Note, the Debtor gave the Creditor a real estate deed of trust on
the Debtor's real property located at 308 Accoustic Dr, Martinsburg, WV 25401 (the "Property").
A copy of the recorded deed of trust is attached hereto as Exhibit B.

        4.      The Plan calls for the Debtor to make post-petition payments on the secured debt
directly to the Creditor outside the Plan.

        5.      As of December 9, 2019, the Debtor is in arrears for the Debtor's post-petition
obligations in the amount of $4,428.64 representing non-payment for the month(s) of July 1, 2019
through December 1, 2019.

       6.     For purposes of this Motion, the fair market value of the Property is $121,000.00,
which valuation is based on Schedule D (e.g., the Debtor's schedules, an appraisal, etc.).

       7.      The payoff balance on the note is $125,409.99.

        8.      The Creditor requests relief from the automatic stay of the Bankruptcy Code on the
basis that: [check all that apply]

               A)     U.S.C. 362(d)(1)

       [ ] Creditor's interest in the Property is not adequately protected by an equity cushion
       [ ] The fair market value of the Property is declining and payments are not being made to the
       Creditor to sufficiently protect the Creditor's interest in the Property
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       [ ] The Debtor has failed to insure the property despite the Debtor's obligation to insure the
       collateral under the terms of the parties loan and/or security documents
       [ ] Payments have not been made as required by an adequate protection order previously
       entered by the court (include an explanation) ____________________
       [x] The Debtor has failed to make payment(s) directly to the Creditor as required by the Plan
       [ ] The Debtor has failed to make Plan payment(s) to the Chapter 13 Trustee
       [ ] The Debtor filed the bankruptcy case in bad faith (include an explanation)
       [ ] Treatment of the Creditor's claim in the Plan is inadequate (include an explanation)
       [ ] Other (include an explanation)

               B)     U.S.C. 362(d)(2)

       [ ] The Debtor does not have equity in the Property, and the Property is not necessary to an
       effective reorganization because _____________ (explain why).

               C)     U.S.C. 362(d)(4)

       [ ] The Creditor is seeking relief from the automatic stay as to real property and the Debtor's
       filing of the petition was part of a scheme to delay, hinder, and defraud creditors that
       involved: (A) the transfer of all or part ownership of, or interest in, such real property
       without the consent of the secured creditor or court approval; or (B) multiple bankruptcy
       filings affecting such real property (provide explanation).

       Ordered, that Relief from the Automatic Stay stay is granted, allowing Movant to proceed
       under applicable non-bankruptcy law to enforce its remedies to foreclose upon (or to enter
       into a Deed-in-Lieu of Foreclosure) and obtain possession of the Property.
       And it is further ORDERED this Order is immediately effective and it`s not stated by
       operation of law, notwithstanding the stay provisions of Fed. R. Bankr. P.4001(a)(3).

       WHEREFORE, the Creditor respectfully requests the Court for an order that:

       A.      Lifts the automatic stay of 11 U.S.C. 362(a) with regards to the Property, and that
authorizes the Creditor to take action against the Property pursuant to applicable State law;

       B.      Waives the 14 day stay of the order as provided by Fed. R. Bankr. P. 4001(a)(3)

       C.      Grants such other relief as the Court deems proper;

        D.      In the alternative, should the Court deny the Creditor's request to lift the automatic
stay, the Creditor requests that the Court award it adequate protection pursuant to section 361 of the
Bankruptcy Code.

       This 9th day of January, 2020.
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                                        Respectfully submitted,
                                        /s/ David C Nalley
                                         David C Nalley
                                         Reisenfeld & Associates LLC
                                         Attorney for Movant
                                         3962 Red Bank Road
                                         Cincinnati, OH 45227
                                         voice: (513) 322-7000
                                         facsimile: (513) 322-7099
                                         e-mail: wvbk@rslegal.com
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                            UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF WEST VIRGINIA
                                     (MARTINSBURG)

IN RE:                                                   CASE NO. 17-00239
   ELISA M. MCGEE FKA ELISA M. PEREZ                     CHAPTER 13
                                                         JUDGE PATRICK M. FLATLEY
                                            Debtor.


                NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

          NOTICE IS HEREBY GIVEN of the attached Motion for Relief from Automatic Stay on

308 Accoustic Dr, Martinsburg, WV 25401, in the above styled case.

          Failure to respond in writing to this Court within fourteen (14) days from the date of this

Notice may result in the requested relief being granted by this Court without a hearing or further

notice.

          If a response is filed in writing within fourteen (14) days, a hearing on the Motion and

response will be held at a time, date, and place to be determined by this Court.


Date: January 9th, 2020
                                                      Respectfully submitted,
                                                      /s/ David C Nalley
                                                       David C Nalley
                                                       Reisenfeld & Associates LLC
                                                       Attorney for Movant
                                                       3962 Red Bank Road
                                                       Cincinnati, OH 45227
                                                       voice: (513) 322-7000
                                                       facsimile: (513) 322-7099
                                                       e-mail: wvbk@rslegal.com
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                        UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                 (MARTINSBURG)

IN RE:                                             CASE NO. 17-00239
   ELISA M. MCGEE FKA ELISA M. PEREZ               CHAPTER 13
                                         Debtor.   JUDGE PATRICK M. FLATLEY


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of January, 2020, a copy of the foregoing
Negative Notice of Motion for Relief from Automatic Stay and Motion for Relief from Automatic
Stay was served upon the following:

       Elisa M. McGee fka Elisa M. Perez, Debtor
       308 Accoustic Drive
       Martinsburg, WV 25401

       Aaron C. Amore, Counsel for Debtor
       206 West Liberty Street, Post Office Box 386
       Charles Town, WV 25414
       aaron@amorelaw.com

       Helen M. Morris, Bankruptcy Trustee
       P.O. Box 8535
       South Charleston, WV 25303
       ch13info@wvtrustee.org

       United States Trustee
       2025 United States Courthouse 300 Virginia Street East
       Charleston, WV 25301
       ustpregion04.ct.ecf@usdoj.gov
                                              /s/ David C Nalley
                                               David C Nalley
                                               Reisenfeld & Associates LLC
                                               Attorney for Movant
                                               3962 Red Bank Road
                                               Cincinnati, OH 45227
                                               voice: (513) 322-7000
                                               facsimile: (513) 322-7099
                                               e-mail: wvbk@rslegal.com
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